                                                                                             FILED
                                                                                    2025 Jun-12 PM 09:17
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION


LAKEISHA EZELL, as                       )
representative of the ESTATE OF          )
TERRENCE ANDREWS                         )   Honorable Judge Annemarie
                                         )   Carney Axon
             Plaintiff,                  )
                                         )   Case No.: 4:20-cv-02058-ACA
             v.                          )
                                         )
                                         )
                                         )
JEFFERSON DUNN, et al.,                  )   JURY TRIAL DEMANDED
                                         )
             Defendants.                 )

             MOTION FOR LEAVE TO APPEAR PRO HAC VICE

      Now comes Locke Bowman, of the law firm Loevy & Loevy, and hereby

respectfully moves the Court for leave to file an appearance pro hac vice in the

above-captioned case on behalf of the Plaintiff Lakeisha Ezell, as the representative

of the Estate of Terrence Andrews. In support of this motion Mr. Bowman states as

follows:

      1. Mr. Bowman works at Lovey and Lovey, the firm that the plaintiff in this

           action has retained to represent him in this matter. Mr. Bowman is an

           attorney in good standing in the state of Illinois. He has also been admitted

           to and is a member in good standing of the United States District Court for

           the Northern District of Illinois.
      2. Mr. Bowman was admitted to practice in the state of Illinois on November

          1, 1982 and in the United States District Court for the Northern District of

          Illinois in 1982.

      3. Mr. Bowman has never been suspended, disbarred, or subjected to

          disciplinary measures of any kind by any State Bar, federal bar, or any

          other licensing body.

      4. As noted above, Mr. Bowman is employed as an attorney at Lovey and

          Lovey in Chicago, Illinois. His mailing address is 311 N Aberdeen, 3rd

          Floor, Chicago, Illinois 60607. His telephone number is 312-243-5900 that

          his facismile number is 312-243-5902. His e-mail address is

          locke@lovey.com. He resides in Evanston, Illinois.

      5. A letter of good standing from the Supreme Court of Illinois is attached to

          this motion as Exhibit A.

      6. Promptly following the filing of this motion, Mr. Bowman will be making

          the required payment for admission pro hac vice of $50 via the Court’s

          CM/ECF system.

      7. The undersigned local council, Anil Mujumdar, has reviewed this motion

          and has agreed to sponsor it.

      Wherefore, Locke Bowman respectfully requests that the Court granted leave

to appear pro hoc vice on behalf of the plaintiff in this matter.
                                   Respectfully submitted,

                                   BY: /s/ Locke Bowman
                                   One of Plaintiff’s Attorneys

                                   BY: /s/ Anil Mujumdar
                                   Local Counsel
*Ruth Z. Brown (pro hac vice)
Megan Pierce (pro hac vice)
Quinn Rallins (pro hac vice)
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*Counsel of Record

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                          CERTIFICATE OF SERVICE

       I, Anil A. Mijumdar, an attorney, hereby certify that on June 13, 2025, I
caused the foregoing to be filed using the Court’s CM/ECF system, thereby
effecting service on all counsel of record.

                                              /s/Anil Mujumdar
                                              One of Plaintiff’s Attorneys
